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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY

JUSTIN MCMURRAY,                                )
                                                )
       Plaintiff,                               )
                                                )
vs.                                             ) Case No. 3:19-cv-00086-JHM-CHL
                                                )
EQUIFAX INFORMATION SERVICES                    )
LLC, ET AL.                                     )
                                                )
       Defendant.                               )

                           NOTICE OF VOLUNTARY DISMISSAL

       NOW COMES Plaintiff, Justin McMurray, pursuant to Fed. R. Civ. P. 41(a)(1)(A) and

files this Notice to Dismiss his negligence and defamation claims with prejudice in the above-

referenced action against Defendant, Indiana Wesleyan University (Marion College), Inc.

       Respectfully submitted this 22nd day of March, 2019.

                                                      HEMMINGER LAW OFFICE, PSC

                                                      /s/ David W. Hemminger
                                                      David W. Hemminger
                                                      HEMMINGER LAW OFFICE, P.S.C.
                                                      331 Townepark Circle, Suite 100-C
                                                      Louisville, KY 40243
                                                      Tel: (502) 443-1060
                                                      Fax: (502) 873-5300
                                                      Email: hemmingerlawoffice@gmail.com
                                                      Attorney for Plaintiff Justin McMurray




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of March, 2019, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

counsel of record.

                                                /s/ David W. Hemminger
                                                David W. Hemminger




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